         Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 1 of 38




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

UNITED STATES OF AMERICA,
                                                     STATEMENT WITH RESPECT TO
v.                                                   SENTENCING FACTORS AND
                                                     SENTENCING MEMORANDUM

RICHARD STENHOUSE,                                   21-CR-193-WMS

                  Defendant.
____________________________________________


                                          Introduction

        Richard Stenhouse is scheduled to be sentenced May 18th at 3pm. Mr. Stenhouse earlier

pled guilty to 26 U.S.C. §7206(1) (filing a false tax return 2014-2018). Ms. Harrington’s

comprehensive presentence report calculates a total offense level at 12 in Zone C. The Government

alleges additional taxes owed for these years was $95, 896. Mr. Stenhouse has paid this amount in

full.

        Respectfully, the undersigned asks this Court to consider a non-jail sentence.


                               Personal and Family Background

        Although Ms. Harrington’s PSR includes details of the family background, the following

additional information about Richard Stenhouse may be helpful to the Court.

        Born and raised in Buffalo, New York, Richard Stenhouse is 76 years old. His father,

Edward J. Stenhouse, taught industrial arts in the Buffalo City Schools. Later promoted to

supervisor of pupil personnel in the central office, he handled suspensions and discipline for

students. He worked for the Board of Education for 40 years. He died at age 92 in 2015.




                                                                                               1
           Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 2 of 38




       Richard Stenhouse’s maternal uncles were also hardworking and entrepreneurial. They

founded and operated several businesses in Buffalo including an auto parts store, delicatessen,

taxi, and dry cleaners. Richard Stenhouse worked for several of these family businesses before

answering his calling as a pastor.

       His mother, Thelma, is 95 years old. Following two strokes, she recently moved into

Richard Stenhouse’s home where he and his wife, Sharon, take care of her (see PSR ¶55; see infra

pp. 5-6)

       Richard Stenhouse was born in Buffalo and attended Bennett High School. He went on to

major in mathematics at SUNY Buffalo where he obtained a bachelor’s degree in 1970. His math

skills helped him get a job at M&T where he worked for several years as the first African-American

hired in the bank’s computer division in Buffalo.

       Leaving M&T to work with his family, he applied his computer skills to help make their

businesses more efficient. He was also active in his church around that time serving as the vice

chair of the trustee board for Agape Church on Northland St in Buffalo. In 1979, Richard received

his “calling” and started the process of becoming a pastor. He attended classes in Buffalo and was

ordained in 1982.

       Richard was initially assigned as the pastor for Bethel AME Church in Lackawanna and

simultaneously worked at ComTec, a local computer company. In 1984 he was transferred to a

church in Norwalk Connecticut. He was the pastor there for 13 years and during that time met his

wife Sharon. In 1997, Richard and Sharon left Connecticut and moved to Buffalo to take a position

as pastor of Bethel AME Church. Bethel AME is the oldest black church in Buffalo and has one

of the city’s largest congregations. While taking on his new duties, Richard also attended Divinity




                                                                                                 2
            Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 3 of 38




School from 1998-2001 at the U.S. Theologic Seminary (West Seneca campus). He earned a

Master’s Degree in Divinity in 2002-03.

           As the longest serving pastor in Bethel AME history, Richard had more than a full-time

job. He ministered to people, presided over bible study meetings, attended funerals, took care of

church administration matters, spearheaded community work, served as the liturgist at Sunday

services and was the Executive Director of the Bethel Head Start program. He served his

congregation until May 2021 when he reached the church’s mandatory retirement age.

           Sheila Leavy, who worked with Rev. Stenhouse for five years recalls his commitment to

the community:

           “He was involved by helping organizations who asked the church for help in
           distributing/giving food to those in need. He helped with blanket drives for children at the
           hospital. He would visit the sick at hospitals and nursing homes. He was a servant for God
           and loved serving the community”1

           Dr. James A. Lewis III, former chairman of Buffalo Zoning Board of Appeals, and one-

time Chaplain to Buffalo Police and Sheriff’s Department writes:

           “Reverend Stenhouse comes from a family of hard workers and good morals. His dad was
           my high school teacher.”

           Jason Maclin, owner of Chopafella’s Barbershop, has known Reverend Stenhouse for over

40 years and considers him a solid force in the community:

           “He has a community that loves and supports him as a giver, inspiration and his
           commitment to the betterment of the generations. He has taught members of the community
           to become homeowners, the importance of credit repair and most importantly how to love
           and serve the Lord”.




1
    Attached are 22 letters in support of Richard Stenhouse


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        Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 4 of 38




       Darius Pridgen, Pastor of True Bethel Baptist Church and President of City of Buffalo

Common Council,

       “Being the pastor of the oldest African-American congregation, he has been a champion of
       educating the community on African-American history to promote pride and peace in our
       community”.
       Referring to Reverend Stenhouse as a pillar of the Buffalo community, Rev Tristan J.

Salley, Pastor St. Paul AME Church Rockville Center NY writes:

       “Reverend Stenhouse has been a committed, compassionate and benevolent individua who
       has consistently worked to assist families and persons in need. Additionally, Mr. Stenhouse
       has been an advocate for education and civic engagement and has inspired generations to
       reach their fullest potential.”

                          Rev. Stenhouse’s Community Involvement

       Active in numerous civic and community organizations, Reverend Stenhouse was

appointed to the Buffalo Fiscal Stability Authority (Control Board) by Governor George Pataki

and served as its Secretary-Treasurer from 2004-2006. The Control Board provided oversight and

approval power over all Buffalo expenditures that exceeded $50,000. At the same time, Reverend

Stenhouse served from 2003-2009 on the Canisius College Board of Regents and simultaneously

was a member of the Community Advisory board of SUNY Buffalo College from 2002-2021.

       An advocate for affordable housing and childcare facilities, he founded the Bethel

Community Development Corporation. Under his watch Bethel CDC built 20 homes for low-

moderate income families on the East Side of Buffalo. They purchased and renovated a 15,000

square foot facility at 1461 Main Street, they constructed a 7,500 square foot childcare facility at

1424 Jefferson, and a 4-unit plaza at 1300 Jefferson which provides affordable rental space to three

minority businesses and a branch of M&T Bank.

       Reverend Stenhouse served as Executive Director of Bethel Head Start from 1997-2015.

Proud of its accomplishments, this organization fed over 9,000 3 & 4 year-old children through a




                                                                                                  4
        Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 5 of 38




federally funded annual program. The church operated 7 sites with over 100 employees.

       Recognized for his years of community commitment and accomplishments, he was elected

by the full church membership to the Board of Directors of the First District Self-Help Corporation

at the AME Church’s headquarters in Philadelphia. Unfortunately, he felt it best to resign because

he didn’t want his felony conviction to reflect poorly on the church.

       Reverend Stenhouse has been the recipient of numerous awards including the 2005 Faith-

Based Partnership Award by Community Action Organization of Erie County, the 2005

Community Service Award by Western New York Region 9, Civil Rights Committee of the UAW

and the 2013 Rev. A. Joseph Bissonnette Award.


                                    Richard Stenhouse as Caregiver

       Richard Stenhouse’s mother, Thelma Stenhouse, is 95 years old. She and her late husband

lived on Hamlin Road in Buffalo. Following her husband’s death in 2015 at the age of 92, Mrs.

Stenhouse continued to live in the family home taking care of herself as best she could. Caring

greatly for his mother, Richard Stenhouse made sure he visited her twice a day. In 2018 Thelma

suffered a stroke which affected her left side. Richard took her to all of her doctor’s appointments

and continued to care for her. The following year she suffered a second stroke. No longer able to

take care of herself even though she had help, Richard made his rounds every day to see his mother.

       In the summer of 2021, Thelma Stenhouse was hospitalized and unable to return to her

home. The choice was simple: place her in a nursing home or have her move in with Mr. and Mrs.

Stenhouse--the loyal and caring son, he chose the latter. The family modified a first-floor bedroom

for her. Thelma is totally disabled and unable to care for herself. She needs 24/7 round-the-clock

care. Although an aide is supposed to come in every morning for an hour to bathe her, because of

COVID they cannot depend on the aide showing up as scheduled. Rev. Stenhouse and his wife


                                                                                                  5
         Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 6 of 38




cook for her, toilet her, and dress her. Unable to walk, she slides from her bed to a chair next to

the bed. She sits in the chair or a wheelchair until she’s ready to go to bed.

       Richard’s wife Sharon Stenhouse, in her letter to the Court explains

       “[W]ithout Richard I do not believe I’d be able to take care of her myself. If Richard was
       unavailable, Thelma would have to be placed in a nursing home. I’m 75 years of age and
       could not provide the necessary care by myself.”

                                            The Offense

       Reverend Stenhouse received his weekly salary every Monday from the office secretary.

As relevant to this case, his weekly salary was $1750 in 2014-2016; it then decreased to $1250 in

2017-2018. All salary checks were deposited into his M&T account. Routinely over the years the

Church had provided Reverend Stenhouse with a 1099 for his full earnings. He was not a W-2

earner and no taxes were deducted from his weekly check.

       Prior to 2014, there was never an issue with his state and federal income tax filings. In

2014 there was a change in office staff. He did not receive a 1099. Regardless, that was no excuse

for not disclosing that income on the joint tax returns he filed with his wife. However, he did

declare all of his other income on their tax returns for those years. This included his salary from

his position as Executive Director of the Head Start program in 2014 & 2015 and his social security

earnings. Although he did not receive a 1099 he knew he owed a tax on his earned income from

the church. He failed in his obligation to declare the income and pay the taxes. Reverend Stenhouse

offers no excuse; this was his fault alone. He blames no one but himself.

       Reverend Stenhouse writes in his letter to the Court:

       “To say I am remorseful is an understatement. Mentally, spiritually and
       emotionally I am consumed with remorse. Whenever I look at parishioners
       I feel like a hypocrite because I am supposed to be their moral leader. When
       I see friends and family I feel deep shame knowing I disappointed every
       person who trusted me to be better than this. I feel this incident overshadows



                                                                                                 6
         Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 7 of 38




       the good I did in my time as a pastor and tarnishes any legacy of community
       achievements.”

       Rev. Stenhouse paid the taxes in full when he filed his amended tax returns in 2019. He

issued checks to the IRS totaling $95, 896. He knows he is subject to an IRS civil penalty of up

to 75% of the tax owed plus interest which may result in his paying almost the same amount again

to the Government.

                                            Conclusion

       Richard Stenhouse is an intelligent, community-minded, caring person. He has lived a life

well-lived. He cared more about others than he did himself. His life revolved around the

community. He wanted people to have a better life and he worked tirelessly to achieve that goal.

He knows he did wrong and broke his own moral code. He is remorseful and penitent. He has paid

the tax in full and if he owes more he will pay it.


Dated: Orchard Park, New York
       May 2, 2022

                                                      Respectfully submitted,

                                                      /s/Joel L. Daniels
                                                      Joel L. Daniels
                                                      LAW OFFICES OF JOEL L. DANIELS
                                                      Attorney for Defendant Richard Stenhouse
                                                      42 Delaware Avenue, 7th floor
                                                      Buffalo, New York 14202
                                                      716-856-5140
                                                      jdaniels38@aol.com

                                                      /s/ Cheryl Meyers Buth
                                                      Cheryl Meyers Buth, Esq.
                                                      MEYERS BUTH LAW GROUP, PLLC
                                                      Attorney for Defendant Richard Stenhouse
                                                      21 Princeton Place, Suite 105
                                                      Orchard Park, New York 14127
                                                      (716) 508-8598
                                                      cmbuth@mblg.us


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        Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 8 of 38




February 13, 2022



Hon. William M. Skretny

United States District Judge for the Western District of New York

2 Niagara Square

Buffalo, New York 14202



Your Honor,

I am writing this letter that you may consider giving Rev. Richard Stenhouse leniency in your
deliberations. I acknowledge that Rev. Richard Stenhouse has plead guilty to filing false income
tax returns for the years of 2014-2018. I would like to share with you that Rev. Richard
Stenhouse is jewel and a pearl of great price in our community and for him to be incarcerated
after all the work he has done in the community would be a great travesty of justice. Because of
Rev. Stenhouse' s years of service to the community many young people have had certain
advantages and accoutrements that normally wouldn't be afforded them.

I met Rev. Sten.house in December of 2016, since then Rev. Stenhouse has been a mentor, a
teacher, a father figure, and a friend. I have had the privilege of serving under his leadership,
where he worked with me one on one and because of his investment in my life I am a better
Christian, a better pastor, and a better man. Rev. Stenhouse discovered me in Lockport, NY and
because of him discerning that I could be of service to the church, he afforded me an opportunity
that has been the springboard for my career.

Again, Rev. Stenhouse is a treasure, and my prayer is that he is afforded the grace for his
misgivings. Rev. Stenhouse is a loving, caring, compassionate man who has given his life to
serve others, please do not allow this impropriety to damage his life's labor, his family
reputation, and his community. Rev. Stenhouse has given so much over the years, please show
his grace and leniency in this matter.



Humbly Submitted,

Rev. Justin B. Anderson

Bethel A.M.E. Church of Woodbury, NJ
    Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 9 of 38




                                         Marie Brown
                                         195 Leslie St.
                                       Buffalo, NY 14211




Hon. William M. Skretny
United States District Judge for Western New York
2 Niagara Square
Buffalo, NY 14202



        My name is Marie Brown and I am aware that Rev. Sten house pleaded guilty for filing
false income tax returns for the years 2014-2018.
       After retiring from the Erie County Health Department I now volunteer for C.C.D.C.,an
organization who provides free clothing and household items for individuals and families who
Rev. Stenhouse supports.
                I know Rev. Stenhouse through church involvement, serving on Bethel Head
Start Board of Directors, watching him assist in building houses for low income families,
securing employment and grants for college students, visiting the sick and comforting families
during their time of bereavement.
       As a community leader and pastor it is amazing to watch him take so many
responsibilities with dedication and commitment many times neglecting his personal needs.
Rev. Sten house is someone who gives himself for the betterment of others.
                To my family he has always been there to give leadership and encouragement. I
am Blessed to know him. Please judge him for the good that he has done and continue to do
and not for the mistake that he has made.

                                                                    Sincerely,




                                                                  Marie Brown
                 Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 10 of 38


                                                   Macedonia Baptist Church
                                                      237 East North St.
____
  ~JS_:
     -                                             Buffalo, New York 14204
                                                       (716) 886-3489
lVfJ\Cl-OI)()N
         I.A                               The Rev. Julian Armand Cook, M.Div.
BAPTIST•CkURCH
                                                        Pastor


       March l 0, 2022

       Tl1e Honorable Wilham M. Skretny
       United States DisLrict Judge for the Western District of Nevv York
       2 Niagara Square
       Buffa.lo, New York 14202

       Dear Judge Skretny,

       .lam The Reverend Julian Armand Cook, Senior .Pastor of the historic Macedonia Baptist Church of
       Buffalo, New York, where l have served since November 2018. The Macedonia Church has been a
       beacon of hope, moral spiritual, and social uplift on Buffalo's East Side for over 100 years. I am
       aware that The Rev. Richard Stenhouse pied guilty to filing false income tax returns for the years
       2014-2018 and I write to provide insight about Rev. Stenhouse's character imrncasurable value and
       contributions as a community and spiritual leader that I hope you will strongly consider before
       imposing your judgement.

       I first met Rev. Sten house in early 2018 when he led a group of Buffalo-area leaders and educators in
       initial "vision sessions'· for tl1e development of a co]lege degree program located on Buffalo's East
       Side. This program would be equipped with the necessary incentives, wrap-around supports, and
       resources necessary for supporting historically underrepresented students in successfully earning a
       college degree. Eventually, the program that began as a fledgling idea in the hearts and minds of
       those gathered became Houghton College Buffalo: East Side (HCB: East Side). At that time, 1 was
       working in Boston, Massachusetts as a pastor and academician; Rev. Stenhouse and others played
       critical roles in my recruitment to Buffalo to serve as the founding dean of HCB: East Side. From
       our very first meeting, I was impressed by Rev. Stenhouse's passion for the advancement of
       Buffalo·s East Side community and his clear commitment to the promotion and training of adroit
       young leaders.

       As sp.iritual leader of one of Buffalo's most venerable institutions-Bethel   African Methodist
       Episcopal Chw·ch-Rev. Stenhouse was a tremendous force for good and a champion for sustainable
       community transformation. 1:-:lis  l.eadership included the development of affordable housing, food
       pantries, and one of the c.ity's most coveted Head Start programs that provided an excellent early
       chjldhood education option for farniLies. Rev. Stenhouse has been a leader for innovation in
       education acces • for underserved communiti.es. H.ehas served on the Board of Directors for Read-to-
       Succeed and as an advisor to countless philantl1ropic organizations and efforts throughout the city.
       slate, and nation.

       Personally, Rev. Stenhouse has been a trusted spiritual mentor. As he is the veteran churchman with
       nearly fo1ty years of pastoral leadership experience, I have looked to Rev. Stenhouse for counsel
       when chall.enges arose within my church and in personal life. He is always a man of incredible
       integrity, sincerity, and in ight. Moreover. Rev. Stenhouse has a reputation for doing what he has
        Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 11 of 38

done for me in the lives of so many other emerging reLigious leaders, irrespective of their faith
tradition, race, or gender. Rev. Stenhouse has profoundly and positively shaped the trajectory
Buffalo, and he is one of the finest human beings J have ever met. It is my great hope that incredibl.e
mercy may be shown for Rev. Stenhouse as he has been an instrument of immeasurable grace and
compassion in the liv<::sof so many others.

Thank you for your consideration, Judge Skretny. Should questions or concerns arise, please do not
hesitate to contact me via phone (listed above) or email at mmbcpastorl@grnail.com.  I am happy to
elaborate on any element of this letter of strongest support.

Sincerely,

~~~-
1 he Rev. Julian Armand Cook, M. Div.
               Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 12 of 38



                                        Kathleen V. Franklin-Adams
                                           421 Newburgh Avenue
                                          Buffalo, New York 14215
                              kvfa98@gmail.com       7.16.812.4469


Hon. William M. Skretny
United States District Judge for the Western District of New York
2 Niagara Square
Buffalo, New York 14202

Dear Honorable William M, Skretny:
I am writing to you in support of my former pastor Rev. Richard Allen Stenhouse.
lam aware that he pied guilty to filing false income tax returns for the years 2014-2018. When this information
was first brought to me by "well meaning friends" I thought of the following two verses and started praying that
his faith would sustain him through this trying season.

Let anyone ofyou who is without sin be the first to throw a stone ... .John 8: 7

Do 110tjudge and you will he not be judged. Do uot condemn and you will not be condemned. Forgive mu/
you will he.forgiven, Luke 6:37

My family and 1 have known Rev. Stenhouse as pastor since he was appointed to Bethel African Methodist
Episcopal Church in 1997. He has watched my children and grandchildren grow up and become a part of our
Bethel Family. His interactions with them made church a happy place for them knowing that Rev. Stenhousc
knew their names! He even sent cards to my daughter when she was away at college to help keep her connected
and motivated. She returned after graduation and is still active as a Trustee .... a position he had recommended
her for years ago.


 As an elementary principal for Buffalo Public Schools, he and I would have countless discussions on the state
of education and ways it could be better. Rev. Stenhouse did more than just talk about improving education in
Buffalo, he was active in Head Start, a federal preschool program for children and families living in poverty,
asking the tough questions as to why our kids weren't learning.
His dream was to start an elementary charter school and later to allow Bethel to be a site for affordable higher
education. I was on the committees for both those endeavors and although neither came to fruition that did not
stop him from celebrating educational achievements of all of his members. Church scholarships were given to
8th & 12th grade graduates as well as college accomplishments. He instituted a Senior Sunday, when graduating
seniors sat in the pulpit with him to give an account of how the church has played a part in their development
thus far and to make it truly a family event having their parents/loved ones introduce them before they spoke.

Thanks to his not being able to say no to kids, he made it affordable for a group of young people to attend a
Young Peoples' Department/ YPD conference in Bermuda and other places in the United States they were being
held! I got to experience a few of those as well!
                  Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 13 of 38

My position as an officer of the former Bethel AME Federal Credit Union allowed me to witness first hand his
support of the credit union as a vehicle to help us help ourselves.


After my retirement in 2005 (He participated at my retirement party) He got me even more involved in church
activities .... planning the 175th Church Anniversary and taking the seniors on day trips as part of the Senior
Ministry.


Since my retirement from BPS, I continue to be involved as an educational consultant, substitute administrator
and a charter school board member because he always reminded me of the importance of our presence when it
came to the education of our children and encouraged me to stay active.

On tbe personal side, Rev. Stenhouse was always available when I needed an objective ear to talk about
anything. We talk about caregiving for our parents, our kids, grandkids,   and his great grands. He would give
me that tough love .. .. ok do they have a problem or do you, about their decision? .... and 1 would remind him of
the same. We have a lot in common when it comes to family


His sermons were uplifting and made you think. He knew his flock and could call us by name whether you were
actively involved in church, just sat in the pew on Sundays or only came a few times a year, he knew how to
make you feel at ease and at home.


One of my most memorable times involving him was the eulogy he preached for my mom who died at home
holding my brother's hand. He said she went from holding her son's hand to holding the Son of God's hand! It's
been almost 10 years and I have never forgotten that!

These are just a few examples of the Rev. Richard Allen Stenhouse that I know, a kind, caring, and
compassionate person who somehow got me into being the unofficial church photographer because I used to
always tell him about the history we were making with guest clergy and the many varied church activities we
hosted. As a result I have many pictures of him, his family and a pictorial history of a lot of things that
happened during his 28 years at Bethel AME Church.

I have adjusted to his retirement while still missing his presence, the photogenic smile of his wife, Sis. Sharon
and his mom calling me Lois Lane because I took a picture of her every Sunday she was in church!

  He often preached, "if God brought you to it, He'll bring you through it!" So it is my prayer for him and his
family that all the good he has done thus far will outweigh this blemish on a truly remarkable life.


                 "Each of us is more than the worst thing we've ever done." - Bryan Stevenson

Sincerely,
Ko..t/,Jeei-.
          V Fro...,41,·.,_AJo..,.,_c:
Kathleen "Sis Kathy" Franklin-Adams
             Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 14 of 38




                             59                 Victoria Street                 Telephone: (441)292-0505      Fax: (441)

                             Hamilton HM 11                       Email:stpau lam ebcla@emaiI.com
                             Bermuda                              Website: www.stpaulamechurch.org




                                                                                              Wednesday April 6, 2022
       Hon. William M. Skretny
       United States District Judge for the Western District of New York
       2 Niagara Square,
       Buffalo, N.Y. 14202

       Hon. Judge William M. Skretny,

       I am writing this letter in support of Rev. Dr. Richard A. Sten house, I am fully aware of the plea he has
       entered with regard to the filing of false income tax returns for the years 2014-2018.

       Notwithstanding the aforementioned plea, I am v.Titingto attest to his character.
       I have known Rev. Stenhouse for over 30 years. I have known him as a colleague in Ministry having served in the
       same Annual Conference together, and in the same Episcopal District, the First Episcopal District of the African
       Methodist Episcopal Church. During these past 30 years I have come to know Rev. Sten house both as a colleague
       and as someone whom I consider a personal friend.

       Rev. Stenhouse and I have worked closely together having served on numerous boards within the Church. I have
       known Rev. Stenhouse to be a man of impeccable principle whose character is beyond reproach. I know him to
       be honest, honorable and a man of his word.

       Rev. Stenhouse in his service to the church and the communities that he has served as a pastor demonstrated not
       only the ability to work in cooperation with others and to follow instructions, but he possessesstrong leadership
       ability in terms of organizing others and leading them in the completion of tasks. Rev. Stenhouse has provided
       sterling leadership to the A. M. E. Church and established, through his example, himself to be a role model pastor.
       I have always found Rev. Stenhouse to be respectful and courteous, a quality that can seem rare today.

       In closing I can honestly say that I have absolutely no doubt that Rev. Sten house despite the current
       circumstances would never knowingly violate the law. I would on his behalf appeal to the Court, and to you Judge
       Skretny, in consideration of Rev. Sten house's decades of faithful, devoted, service to the church and community
       and the overwhelming good that Rev. Stenhouse has contributed, that it not be overshadowed by this current
       circumstance. I have absolutely no hesitation or doubt that if afforded the opportunity through the grace of the
       Court that Rev. Stenhouse will make full restitution and comply with all that would be required of him.

       If you have any questions please do not hesitate to call me on 1-441-599-6425 or you can reach me via email at
       Nktwd@aol.com. I will be more than happy to respond to any further questions that you may have.

                             /     --~
       Keep the F-~i-t~~;;           _,,,..,-


         •
                    ~
                    Genevieve-Tweed




God Our Father         Christ our Redeemer               The Holy Spirit Our Comforter        Humankind Our Brother
     Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 15 of 38




                A CHURCH               FOR ALL GENERATIONS
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February 17, 2022

Honorable William M. Sk.retny
United States District Judge
Western District of New York
2 Niagara Square
Buffalo, New York 14202

Dear Judge Skretny:

This letter is being written on behalf of Richard Stenhouse. I am aware that he
pled guilty to filing false income tax returns for the years 2014-2018.

I met Pastor Stenhouse in the late 1990 's, sometime after he was appointed to
Bethel AME Church, Buffalo, New York from the Bethel AME Church in
Norwalk, Connecticut. It would be some years later, 2003, before our common
interest in community building would bring us together in a working relationship.

I know now that it becomes your task to consider what is the proper sentencing for
the crime committed. I would hope and pray that as you weigh your decision in
relationship to his enor in judgment, that you would consider his past history in
helping so many within this community.

Shortly after atTiving in Buffalo, New York he continued the same kind of work he
had done in Norwalk, Connecticut. His involvement in church and community in
Connecticut was outstanding.

As Pastor of Bethel-Buffalo, Reverend Stenhouse was the Executive Director of
Bethel Head Start, the oldest and largest Head Start Program in Western New
York. Head Start is a federal program that promotes the school readiness of
children from birth to age five from low-income families.



                              716-895-7491·                     fax: 716··895--7619
        70 I East     Delavan Avenue, Duf-falo, New York 11·2 15
                                                           M() f)CDutfalo.org
     Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 16 of 38




ln 1998, Bethel AME Church formed the Bethel Community Development
Corporation through a ten-thousand-dollar grant from the Chase Manhattan
Foundation. Bethel CDC has constructed fourteen homes in the Cold Spring area
of Buffalo for low and moderate-income families; a $2,7000,000-day care facility,
and a retail incubator for minority entrepreneurs on Jefferson Avenue and in
partnership with Belmont Shelter, thirty rental units in Buffalo, New York.

Reverend Stenhouse was appointed to the Board of Regents of Canisius College
and the Community Advisory Committee of Buffalo State University.
He is one of the founding members of the Jeremiah Partnership, an historic
partnership of seven faith-based institutions on the East Side of Buffalo. Founded
in 2003, this partnership addresses the housing, economic development and
educational needs of the East Side of Buffalo. I was also one of the founding
members. He has served on the Board of Directors of LEW AC Associates of
WNY, Inc. and previously served on the Board of Directors of Housing
Opportunities Made Equal (HOME) of Buffalo.

He was the first African American computer programmer employed by M&T Bank
and worked as a systems engineer at Comptek.

In February 2004, Governor George Pataki appointed Reverend Stenhouse to the
Buffalo Fiscal Stability Authority. He was the first and only clergy on the nine-
member Authority.

As you can see so many people are now the recipients of the good work he has
done. Again, I ask that these things be considered in his senior years, as most of
his life has been given to help others. Thank you for your consideration.

Yours truly,

//4~,-;-
William Gillison, Pastor




                            716-895-7494       Fax:   716-895-7 619
       701 E_ast Delavan     Avenue,   ,DuHalo, New York      l 4·215

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                     Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 17 of 38
       The Historic Charles Street African Methodist Episcopal Church
              551 Warren Street - Roxbury, Massachusetts 02121
Reverend Gregory G. Groover, Sr. M.Div, MSW, D.Min., l';1slor                                               617) 442-7770
Reverend Khadcn V. Nurse, Sr., M.Div.,, ARsociatc Pastor                                             (617) 427-1215 flAX
                                                                                                E-r.-bil oflicc@c~amc.org
                                                                                        Pastor'sE-i\1.ailggrooYcc®c!(omr'>CJ?
                                       07 March 2022

                                       Honorable William M. Skretny
Associate Ministen
Rev. B:ub:mtA Groover, Iii.Dir.        United States District Judge
Rt\·. Marjorie A.Jnncs, F.d.D.         Western District of New York
Re,·. lrmaJ. Thibodcoux, M. Di,·.
Re,•. Sfi:irclA. Roberson, M.'Ih
                                       2 Niagara Square
Rev. Oiristco.nJones-Powell, M.Di.-.   Buffalo, NY 14202
Rev.Jt.,in I. S~gh, MA
Re,·. Andn:w E. IGmblc, M.Di".
                                       Dear Judge Skretny,
Administration
 losutMarius
•Vk>e Owmt,,,,,Sr,•w-riJJcanl             This letter serves as a character reference for the Reverend
Veronio Williams                       Richard A. Stenhouse.      It is my understanding   that Reverend
Vi,, c;.,;,.,,,.,
               Tnt.fke IJoanl
                                       Stenhouse has pleaded guilty to filing false income tax returns for
Rolanda DudlcY-Co\\'uns,Mll,\,         the years 2014-18. While this circumstance regarding Reverend
Vi« Ox,irn,.,n.j·,w,rrl.rbip/
                           Finonit
                                       Stenhouse is unfortunate, it has not altered the high regard that
Or. Os:ucc Owen>, DB/\.                I've held for him over the past twenty-eight years.
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C,~Goo<i,--in,
am    /..l:ild-r,   c-..,,,,,.,.           Reverend Stenhouse and I began working with each other in
                                       1994, the year I was assigned to pastor the Historic Charles Street
I.irub l:>.m::h,
Q<m11G,il:                             A.M.E. Church in Boston MA. At the time, he was the senior pastor
U\'$011u.,: l),1lc..-,
                                       of Bethel A.M.E. Church, Norwalk CT. As pastors of two sister
X~Mr&/in,           o;.,.,,,,.         churches within the same judicatory district, we had the
                                       opportunity to grow and develop a dose working relationship and
G"'-cn<lolynCbtk
Dirrd.r ,f l'art-,1,ipr                friendship. I found him to be someone in whom I placed a great
                                       deal of confidence and an experienced colleague that I trusted and
Greg Groo\'cr,Jr .. .\Dlus..
1buirDimtw                             consistently sought advice and direction.

                                          Our shared work and friendship didn't end but onJy deepened
                                       when he left New England to assume the pastorate at Bethel
                                       A.M.E. Church in Buffalo. I've had the privilege of serving on
                                       several denominational panels with Reverend Stenhouse. In all
                                       those church bodies, Reverend Stenhouse tirelessly provided very
                                       strong leadership.

                                          As our episcopal district was hit with major crises (and there
                                       were several), Reverend Stenhouse's extremely capable, strategic,
                                       and steady leadership guided our presiding bishop and the over
                                       three hundred churches of our district to a promising future and
                                       better times. He was immeasurably helpful in assisting my church
                                       navigate through its most difficult period of its two hundred and
                                       four year-old history. It is safe to irrefutably assert that had it not
        Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 18 of 38



   been for the "hands-on-deck"   counsel and sound recommendations       offered by
   Reverend Stenhouse, several A.M.E. Churches, including mine, would not be standing
   today.

      In our religious language, Reverend Stenhouse has been a "blessing beyond no
   end'' to many pastors and their congregations within the First Episcopal District. I, for
   one, wil.1be interminably grateful for his continually reaching out to my congregation
   and me in our time of great need.

     For the above reasons, it is my prayer and hope that you will show mercy on
   Reverend Stenhouse in determining your ruling. Thank you for your consideration.

   Sincerely,



   Reverend Dr. Gregory G. Groover, Sr.,
   Pastor




ONE Church with a SECONO Wind for;, TH/RO Century


                       The Rr. Re,. Julins Hani.son i\lcr"\!lister, Sr., Presiding Prelate
                           The Rev. Jocclyn J •. Han J ,ovclacc. Prc!-iwno-f-<".ldcr
    Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 19 of 38

February 23, 2022



Honorable William M. Skretny

United States District Judge for the Western District

Of Western New York

2 Niagara Square

Buffalo, New York 14202



Dear Honorable William M. Skretny,

I have known Pastor Sten house for approximately 25 years, and he
is like a father, friend, and mentor, someone that I could talk to
about anything. He is always there to support me and let me know
if I am right or wrong and has helped to guide me in the right
direction.

I have never known Pastor Sten house to indulge in any form of
illegal activities. He has always taught to be honest, loving, caring.
He has helped so many people in all walks of life and in all areas in
Buffalo, New York that I know of.

I am aware that Pastor Stenhouse has pleaded guilty to filing false
income taxes for the years 2014-2018. I believe that Pastor
Stenhouse is a great man and deserves another chance because he
is a very important person to the community and to people in the
church.

I thank you for taking your time to read this letter. Peace and Love.

Nicholas J. Hall        (L___ .j. ~~
      Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 20 of 38




SL
March 7, 2022
To: Hon. William M. Skretny
United States District Judge for the Western District of New York
2 Niagara Square
Buffalo, New York, 14202
I recognize that Rev. Richard Stenhouse has pled guilty to filing
false income tax returns for the years 2014-2018.
Hon. William Skretny there is not much to say about myself. I am
retired. I love to spend time with God, my family, exercise and
shop. I am a mother with two adult daughters, a grandmother with
four grandchildren, two Sisters, an aunt, Cousin and Friend. I
know Rev. Stenhouse because he was 1ny Pastor from October 11,
2015, until his retirement in June 2021. I also worked for him for
five years, April 16, 2016, through June 22, 2021, as his
Administrative Assistant/Secretary.
Judge Skretny, I would like you to know that Rev. Stenhouse is a
compassionate and very nice person, helpful and caring about
others. It was a pleasure working for him. In my time with him, he
has shown and demonstrated concern for those in need and/or
asked for help/assistance. He has hired people in need of a job. He
has written letters of recommendation for our Young Adult
students in need of scholarships, to High School, and/or College.
He has helped young people at the church with support to attend
Young People church conferences.
         Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 21 of 38




 When Rev. Stenhouse was Pastor of Bethel AME Church,
 Buffalo, NY, he exemplified qualities of a good leader in the
 community. He was involved by helping organizations who asked
 the church for help in distributing/giving food to those in need. He
 helped with blanket drives for children at the hospital. He would
 visit the sick at hospitals and nursing homes. He was a servant for
 God and loved serving the community. Just to name a few things.
 Judge Skretny, thank you for taking time to hear from me about
 Rev. Richard Stenhouse.
 Respectfully,
~
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 Sheila Lea .,,,~----
             Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 22 of 38

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     March1, 2022
     Hortorable Wi11iamM. Sktettiy
     United States District Judge for the
     Western District ofNew York
     2 Niagara Square
     Buffalo, New York 14202
     bear Honorable Skretny,
     I, James A. Lewis lU, am writing on behalf of Richard Stenhouse. l was born, raised an attended
     school here in Buffalo. I hold a doctorate degree in theology and psychology. I; retired from the
     Erie County Medical Ctr, In August of 2019, after serving as Director of Pastoral Care for 30
     years, I have been the chairman of City of Buffalo Zoning board of Appeals for the past 20
     years. I serve with pride as the ChiefChaplain to the Buffalo Police and Sheriff Dept. I have
     been pastoring in the ministry for 31 years, currently the Pastor of Miracle Missions Full Gospel
     Church and District Overseer. l am one that has the heart for the least and the lost with a belief
     of second chances and forgiveness. I have beert married for 39 years and a proud father, grand-
     father, and great grandfather.
     It has bccti brought to my attention that Mr. Stenhouse has ,pleaded guilty to filing false income
     tax returns for the years 2014~2018. Despite what has transpired I still respect and remember the
     positive characteristics he demortsttated to the community and those he encountered. He is a
     man of wisdom and integrity in the over fifty years which I have known him. He comes from a
     familyof hard workers and good morals: his dad was my high school teacher. He was
     committed to his assignment as Pastor and Presiding Elder. He was well loved and trusted by his
     parishioners. He has been concerned artd involved in the issues of the community and diligent in
     his quest to save souls,
     We all have sinned and fallen short. Forgiveness is granted when repentance take piace and
     remorse is demonstrated, May God's grace and mercy be shown to one who has shown it to so
     many.
     My contact information is above if you need additional information.
     Respectfully yours.

             ···-~


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     James A Lewis III
          Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 23 of 38




Hon. William M Skretny
United States District Judge
Western District of New York

Letter of Support for Richard Sten house

February 17, 2022




Dear Hon. William M Skretny,

I, Jason W. Maclin am writing this letter to provide support for Mr. Richard A. Sten house, who is a friend
and spiritual advisor for almost 40 years. I have been made aware that Rev. Sten house has pied guilty
to filing false income tax returns from 2014 to 2018 and wanted to shed some light on the person I
know and respect.

I am the owner of Chopafellaz Barbershop and Sinclair's Salon & Spa located at 700 Main St, Buffalo NY
14202. Also, the nephew of his mother and an active congregational member of Bethel A.M.E.Church.

Besides starting Bethel Head Start schools, Rev. Sten house has made various changes in the
community and my personal life. He has a community that loves and supports him as a giver,
inspiration, and his commitment to the betterment of the generations. He has taught members of the
community to become homeowners, the importance of credit repair, and most importantly how to
love and serve the lord.

Perseverance and determination are life lessons I have learned from Rev. Sten house that I bestow upon
my family unit and clients daily. I love him dearly and he is the strongest man I have left in my
immediate family.

I understand the severity of the charges and his plea. I am humbly asking for consideration and grace of
his true character.


         Regards,                   ~
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       n W. Maclin
              Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 24 of 38

                             MIDTOWN                  BIBLE           OHUROH
                          1722MAINSTREET                    BUFFALO,          NY     14209
                                      Telephone: (716) 884-5203
                                   Email:   111idto1v11biblcd1wd1@.g111;uJ.cm11

                                        Brent C. McCalister,Pastor

 Chainnan of Trustee Board                                                                   Church Secretary
Joel&Jwards                                                                                  Annette King

                                                  March 2, 2022


Honorable William M. Skretny
United States District Judge
Western District of New York
2 Niagara Square
Buffalo, New York 14202

Sir:

I, Brent C Mccalister, have been the Pastor of Midtown Bible Church for the last twenty-eight years. I have
served in the capacity of a community leader and have been the constituent of Rev. Stenhouse in a number
of community concerns. I count it a privilege and an honor to share my experience with Rev. Stenhouse.

Professionally, I found him to be confident, caring, and committed to his responsibilities as a Pastor, but also
his sense of love and loyalty to his community. As a colleague to Rev. Stenhouse, I worked with him in several
capacities, and watched with careful consideration, his leadership style and commitment. And to be very
honest, I was impressed. He was always proficient, and exemplary. I've watched him as a minister and saw
his love and loyalty to his church and his family.

 I'm not sure if this is matter of professional consideration, but I saw his tenderness with his mother and his
kindness to people that could never pay him back and watched him give of himself. As a matter of record, it
is my professional opinion, Rev. Stenhouse, in this particular issue regarding his personal finances, has proven
to be a poor choice.

 In matters of professional and public service, he has been noteworthy, and to my knowledge, honorable.
Therefore, I pray that whatever determination that would be considered, it is my hope that he would be given
the same grace and kindness that he extended to others to include myself.




                                                                 ·~
                                                                      ~I~
                                                                      716-864-8098
    Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 25 of 38




Gwendolyn McKinnon
282 Purdy Street
Buffalo, NY 14208


April 9, 2022


The Honorable William M. Skretny
U.S. District Judge for the Western District of New York
2 NiagaraSquare
Buffalo, NY 14202


Re: Reverend Richard A. Stenhouse

Dear Judge Skretny,


My name is Gwendolyn McKinnon, and I am a current resident of Buffalo, NY and member of Bethel
AME Church located at 1525 Michigan Avenue Buffalo, NY 14209. Reverend Richard A. Stenhouse has
served as my pastor for over 15 years at Bethel AME Church. During this time I have had the opportunity
to observe his character as a husband, a caregiver, and a community advocate. I was truly surprised to
discover that Reverend Stenhouse pied guilty to filing false income tax returns for the years 2014-2018. I
know Reverend Stenhouse as being a family man and a devoted community advocate. Reverend
Stenhouse has assisted in the upbringing and care of his grandchildren and his great-grandchildren. I
know that Reverend Stenhouse is also the primary caretaker and advocate for his elderly widowed
mother. Personally, Reverend Stenhouse has provided me with spiritual counsel and mentored my
chtldren through high school and college. In addition, I have witnessed Reverend Stenhouse selflessly
serve members of our congregation and surrounding communities.

During sentencing, please consider this letter, Reverend Stenhouse's influence on the youth of our
community, and his long-lasting reputation to uplift the inner-city. I believe that despite the concerning
actions, Reverend Stenhouse is a highly regarded individual in our community, a valuable member to his
family, and a genuine person.



Sincerely,

~ftt,½VN~
Gwendolyn McKinnon
          Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 26 of 38

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March 2, 2022



Hon. William M. Skretney
United States District Judge for the Western District of New York
2 Niagara Square
Buffalo, New York 14202


Re: Rev. Richard Stenhouse



Dear Judge Skretney,

I have known Reverend Richard Stenhouse for over 15 years, and I have always found him to be very
honorable man. His work in the community has impacted countless people, through his ministry at
Bethel AME. Much of the work of a pastor is done in places where no one sees, except the people whose
lives you impact. Many know Rev. Stenhouse for his leadership in the AME church, the Bethel Head
Start Program and the Bethel Housing Corporation. What people do not know is his humble dedication
to caring for people through his mentorship of younger pastors, pastoral care for those in crisis as well as
his advocacy for the poor in our community. I am often highly critical of the lack of competent clergy
leadership in Buffalo, many so-called leaders could learn a great deal from Rev. Stenhouse about what it
means to be a true shepherd of God's people. His work has created a lasting legacy that will impact
individuals and families for generations. I know that because I have had the privilege of serving this
community with him on several occasions

One of the reasons I responded to God's call to Christian ministry is my understanding of God's grace.
Our human condition often leads us to make bad decisions that don't reflect the totality of our character.
Everyday I deal with people who make mistakes that have negative consequences on their lives as well
as those close to them. I see the heai1ache and regret of people who give into temptation and make
choices that are often unethical, immoral and sometimes criminal. In those moments I always tell them
tlu·ee things.

    1. You must be accountable for your actions; you must own what you did
    2. What you did does not define who you are. We serve a God of grace who reminds us that grace
       is always available
           Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 27 of 38

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Romans 5:20 (NIV) ?he law was brought in so that the trespass might increase. But where sin increased,
grace increased all the more


     3. Your actions do not separate you from God's love

I am well aware of the serious charges that Rev. Stenhouse has pled guilty to. FU11hermore,I know he
must face the consequences of his actions. I am certain he is filled with guilt, remorse and shame for his
actions and how it has impacted his family, friends and congregation. Cunently, I have a dear clergy
colleague who is sentenced to 6 years in federal prison for some financial improprieties that he plead
guilty to. He is behind bars despite the countless lives he has impacted with his ministry. I have seen
how his incarceration has devastated his family, church and community. My appeal to you is that you
exercise all the mercy and leniency that your judicial position affords you. Rev. Stenhouse is an
exceptionally good man who did an awfully bad thing. For that he has paid a tenible price of losing his
standing in the community. As an elder, he should be enjoying a place of honor because of his great
service to the community. Instead, his reputation is ruined, and his legacy tarnished. True he has no one
to blame but himself, but I am asking you to spare him the indignity of incarceration.

Thank you for allowing me to express my feelings to you about Rev. Stenhouse and I will continue to
hold the both of you in my prayers as you deliberate your decision.



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Pastor George F. icholas
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Lincoln Memorial UMC
                  Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 28 of 38




    4/20/21

    Hon. William M. Skretny
    United States District Judge For Western District of New York
    2 Niagara Square
    Buffalo, New York 14202


    Re: Richard Stenhouse



    To The Honorable William Skretny:

    Sir, this letter is about Pastor Richard Stenhouse who I have known for more than 20 years. I am
    the Pastor of True Bethel Baptist Church in Buffalo and the New York State Bishop in the Full Gospel
    Baptist Fellowship. In another role, I serve as the President of The Buffalo Common Council.

    I have been informed that Pastor Sten house pied guilty to filing false income tax returns. Even with
    the guilty plea, I felt it was important to let the court know how much Pastor Stenhouse has
    contributed to the community that I represent both civically and spiritually. Pastor Sten house has
    led a very productive push to revitalize the eastside of Buffalo at a time when many people would
    not touch development projects. He and the Community Development Corporation that he led put
    first-time homeowners in newly built houses who would have not qualified for a conventional loan.

    Pastor Stenhouse's other contributions are too numerous to list but I will mention a few. Not only
    was he one of the only faith-based organizations building housing, he and his congregation ran a
    very successful daycare program that took care of many of the area's poorest residents so that they
    could work and provide for their families. Being the pastor of the oldest African-American
    congregation, he has been a champion of educating the community on African- American history to
    promote pride and peace in our community.

    Personally, Pastor Stenhouse was one of the only developers who passed on valuable information
    to me and other pastors and community leaders who wanted to develop affordable housing in the
    poorest communities. His efforts have led to the successful construction of several developments
    to help stabilize the eastside of Buffalo.

9 907 E. Ferry St. Buffalo, NY   14208
              Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 29 of 38




                                   ST. PAUL AME CHURCH
                                      TOUCHING LIVES I IMPACTING GENERATIONS I EMPOWERINGCOMMUNITICS



                                      Rev. Tristan J. Salley, Senior Pastor



      March I, 2022


      Honorable William M. Skretny
      United States District Judge for the Western District of New York
      2 Niagara Square
      Buffalo, New York 142020

      Dear Judge Skretny,

      My name is Reverend Tristan J. Salley, and I serve as the Senior Pastor of St. Paul African
      Methodist Episcopal Church in Rockville Centre, New York. I am sending this communication
      in support of Mr. Richard Sten.house, who I am aware has pleaded guilty to filing false tax
      returns for the period of2014 to 2018.

      I have known Mr. Stenhouse for almost a decade and during this time I have known him to be a
      pillar of the Buffalo community. Mr. Stenhouse has been a committed, compassionate, and
      benevolent individual who has consistently worked to assist families and persons in need.
      Additionally, Mr. Stenhouse has been an advocate for education and civic engagement and has
      inspired generations to reach their fullest potential.

      Personally, I have known Mr. Stenhouse as a mentor and colleague. He has assisted me in
      navigating professional and community environments throughout Erie County and within New
      York State by sharing his experiences and wisdoms. Mr. Stenhouse has on numerous occasions
      worked tiJelessly to make an impact larger than himself and has had a career that has been
      committed to outreach and service to humanity.

      1t is in this consideration, that I extend my support both professionally and personally for Mr.
      Richard Stenhouse.

      Sincerely,

~--

      Reverend Tristan J. Salley




                             453 Pershing Boulevard, Rockville Centre, New York 11570
       Tel: (516) 678-7245    Fax: (516) 766-0504    email: info@stpaulamervc.org   www.stpaulamervc.org
    Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 30 of 38




                                      March 1, 2022

The Honorable William M. Skretny
U.S. District Judge for the Western District of New York
2 Niagara Square
Buffalo, New York 14202

Dear Judge Skretny:

I met Richard Allen Stenhouse when I was appointed to the Western New York Annual
Conference of the African Methodist Episcopal Church in 2008. Since that time,
Reverend Stenhouse has been a role model who has mentored me and numerous others
on how to be effective ministers and make impact in the communities we serve. I cannot
count the number of times l have sat around his conference table where he shared
wisdom from his almost four decades as a pastor, and he allowed time for reflection,
feedback, and caution.

l am aware that Reverend Stenhouse pied guilty for filing false income tax returns for the
years 2014-2018.    I pray compassion when he is sentenced. Of course, if there are
questions   and/or    concerns,  please   contact     me     at (585) 461-1395          or
pastor@baberrochester.org. Thank you for consideration of this letter.

                                        Sincerely.




                           The Reverend James C. Simmons,
                                       Pastor




                      550 Meigs Street, Rochester, New York 1460 7
           Phone: 585-461-1395 I Fax: 585-271-6429 I www.BaberRochester.org
                THERE IS NOTHING TOO HARD FOR GOD!
                Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 31 of 38

                                    THE lllSTORIC   PHILADELrl·llA   MOTI-:IER DISTRICT
                                     OF THE PHILADELPHIA       ANNUAL   CONFERENCE                      610-256-0710
                                       P.O. Box 387 • VILLANOVA,     PA 19085-0387            stan.smitb3@mail.com




REV. DR. STANLEY GORDON SMITH
       PnESIDING ELDER




        Hon. William M. Skretny
        United States District Judge for the Western District of New York
        2 Niagara Square
        Buffalo, New York 14202

        March 16, 2022



        Dear Judge Skretny:

        I am writing this missive as a character reference for the Rev. Richard A. Stenhouse.
        Notwithstanding, I'm aware that he has pleaded guilty to filing false income tax returns for the
        years 2014-2018.

        I have known Rev. Stenhouse for over twenty 22 years, I have worked as a Pastor colleague of
        his in the Western New York District from 2004-2008. And as he was the lead Pastor of said
        district, I have witnessed his compassion, concern, guidance and assistance he gave to the
        smaller churches.

         Additionally, I have worked with him on various boards and committees up until his retirement. I
        found him of great moral character and of exemptery business acumen. He has shown himself
        of great integrity in every aspect of the work of the church. Therefore, I fully vouch for his
        character and there is no doubt in my mind concerning his value to his community and the AME
        Church.Please let me know if there is anything else I can offer.




        Rev.. Dr. Stanley Gordon Smith, Pre
        The Historic Philadelphia Mother District of the Philadelphia Conference
    '          Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 32 of 38




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First Shiloh
 BAPTIST       CHURCH




        March 8, 2022


        Honorable William M. Skretny
        United States District Judge for the Western District of New York
        2 Niagara Square
        Buffalo, NY 14202

        Dear Judge Skretny,

        It is my great pleasure to write a letter of support for my colleague and friend, the Rev. Richard
        A. Stenhouse. I have known Pastor Stenhouse for 15 years. He was one of the first people to
        welcome me to Buffalo as I transitioned to a new pastorate. In those years, I have found him to
        be a great friend, pastor and true advocate for the downtrodden.

        His work within our community is unparalleled. Pastor Stenhouse provided leadership for the
        Jeremiah Project that created resources and housing for those who desperately need help on the
        east side of Buffalo. Moreover, he provided leadership for the Bethel Child Care Centers. Those
        centers gave our community safe and essential child care options.

        I am well aware of his current legal troubles and 1 proud that he has acknowledged his fault, pied
        guilty and offered to make restitution. This further illustrates that he is a man of character.
        Instead of lying, he told the truth; knowing that the truth could bring great harm to him and his
        family. I believe that Pastor Stenhouse is truly repentant. The shame of this public process has
        damaged his reputation and legacy. In my humble opinion, any additional punishment is not
        necessary. I pray that you will be gracious in your sentencing.

        If any additional information is needed, or if you would like to speak with me before sentencing,
        feel free to contact me.

        Sincerely,


        The Rev. Jonathan R. Staples
        Senior Pastor




              15 PINE STREET BUFFALO, NY 14204   PHONE: 716.847.6555            FAX: 716.847.0416
                         REV. JONATHAN   R. STAPLES, M. DIV., SENIOR            PASTOR
          Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 33 of 38

                                Richard A Stenhouse
                                 45 Fordham Drive
                              Buffalo, New York 14216

April 19, 2022


Hon. William M. Skretny
United States District Judge for the Western District of New York
2 Niagara Square
Buffalo, New York 14202


Dear Judge Skretny:


          I have thought of little else since being charged in this case.
     I'm ashamed of my failure to pay these taxes. All I had to do was
     ask for the 1099 or very simply just total the checks I received
     weekly. This was a simple step that I blame myself for not doing. I
     have embarrassed my church, my congregation, my community,
     and my family. Certainly I should have known better. I now have a
     felony conviction. This was very foolish on my part.

           To say I am remorseful is an understatement.          Mentally,
     spiritually and emotionally I am consumed with remorse.
     Whenever I look at parishioners I feel like a hypocrite because I am
     supposed to be their moral leader. When I see friends and family I
     feel deep shame knowing I disappointed every person who trusted
     me to be better than this. I feel this incident overshadows the good
     I did in my time as a pastor and tarnishes any legacy of community
     achievements.

           As a hometown guy from the Willert Park Housing Project, I
     tried to lead by example so others could see they could also
     overcome challenges and be successful. But now I am just another
     example of a leader who has failed to live up to his responsibilities
             Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 34 of 38

     and let down people who looked up to him. I pray to God that he
     will provide me with opportunities to make amends.

         My concern is for my mother who is 95 years old. I have
     embarrassed her and she deserves better. She has suffered several
     strokes. Although she does not have a terminal illness, she is
     immobile and requires constant care. She can only feed herself and
     operate the tv and chair remote. She can stand with assistance,
     cannot walk and slides from her bed to a chair less than 12 inches
     from the bed. I am blessed to have a wife who cares for my mother
     without complaint but if I'm not available, my mother will have to
     be institutionalized.

          Words cannot express my sorrow for this serious lapse in
     judgment.




Sincerely;



Richard A Stenhouse
         Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 35 of 38


                               Sharon D. Stenhouse
                                  45 Fordham Dr.
                             Buffalo, New York 14216
April 16, 2022



Dear Judge Skretny:

My name is Sharon Diana Stenhouse, the wife of Richard A. Stenhouse. I married
Richard in Norwalk Connecticut where he was pastoring Bethel AME Church, on
November2, 1996. Richard pastored Bethel- Norwalk for thirteen years, 1984-
1997, before being transferred to Bethel AME Church in Buffalo NY in June 1997.
He pastored Bethel-Buffalo for 24 years until reaching the mandatory retirement
age of 75. He retired from pastoring Bethel Church in May of 2021.

Richard is close to his family and always helps them out. He has three
grandchildren and six great grandchildren.

His only brother, Terry, died in 2002 from kidney failure and his father, Edward,
died from cancer in 2015. Richard assisted in the caregiving for both and helped
his mother during their illness.

Richard was always remarkably close to his mom, Thelma who is 95. When she
became ill, he was always there for her. In 2018 Thelma suffered a stroke which
affected her left side. Richard was there to take her to all her doctor appointments
or wherever she had to go. She suffered another stroke in 2019 and she was no
longer able to care for herself. He was able to get someone to came in and help.
He was still there every day, to see about her.

She became ill again in 2021 and was hospitalized. Thelma was unable to go back
to her home and came to live with us in September 2021 on Fordham Dr. A nursing
home was out of the question. We have an aide come in every morning to bath
and prepare her for the day. Richard and I take care of her the rest of the time.
Richard gives her the five medications she requires. She is unable to walk and
slides from her bed to a chair which is next to the bed. She sits in a chair or
wheelchair until we put her to bed at night. Thelma is unable to go out, Richard
has Mobile Physicians to come in to see her.
                Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 36 of 38


    Thelma's mobility is very limited and she can only feed herself. Although her vital
    signs, blood pressure, heart beat and blood tests, are good, she requires constant
    care and monitoring.

    "Richard is very caring and patience with his mom. Without him I do not believe I
    would be able to take care of her              11
                                                        •   If Richard was unavailable, Thelma would have
    to be placed in a nursing home. 11m 75 years of age and could not provide the
    necessary care by myself. There is no other family member or care provider who
    could provide the needed care. I would hate for this to happen since Richard1 s
    father and brother both died at home.



    Sincerely;
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    Sharon D Stenhouse
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Febrnary 23, 2022



The Honorable William M. Skretny
United States District Judge
Western District of New York
2 Niagara Square
Buffalo, New York 14202


Dear Judge Skretny,
My name is Sherri Lee Stevens and I write in support of Reverend Richard A. Stenhouse, who
has been my boss and mentor for the past five years.
While I am surprised by the action of tax evasion from Rev. Stenhouse, I am not surprised he
pled guilty to filing false income tax returns 2014-2018. Doing so, for me, speaks to his true
integrity and righteousness, which I have come to know, love, and respect since 2017. It pierces
my consciousness to the frailty of human nature; we all make mistakes and experience lapses in
judgment. Admitting to his indiscretions sensitizes my awareness to the redeeming qualities of
forgiveness and humanity.

I faced many great challenges in my job as General Manager of First District Self Help, Inc., in
Philadelphia, Pennsylvania for which Rev. Stenhouse hired me. Under his leadership, I learned
to navigate with grace, calm, and smarts in frustrating and alarming situations. As a result of his
deliberate care, vision, curriculum, supervision, and sometimes admonishment, I was empowered
with the freedom and wherewithal to turn the company from poorly managed and unprofitable to
one of profit and reputable account.
He was always honest with me, even if uncomfortable for him. He helped me see the world with
a larger lens, in contrast to the oft myopic and limiting way in which I viewed and reacted to it.
He has and still has only my best interest in mind and at heart. I have benefited from the wisdom
of his life's experiences and am forever grateful.
                Case 1:21-cr-00193-WMS Document 11 Filed 05/05/22 Page 38 of 38

                           Bethel African Methodist Episcopal Church
                                              "BuildingRelationshipsand Loving People"
                                                           www.bethelbuffalo.org
                         Reverend Paul J. Thomas, Pastor                                 Telephone (716) 886-1650
                         1525 Michigan A venue                                           Fax (716} 886-2311
                         Buffalo, New York 14209                                         bethelbflo@yahoo.com



To: Hon. William M. Skretny, United States District Judge for the Western District of New York
2 Niagara Square. Buffalo, New York 14202

Monday, April 11, 2022

Re: Letter of Support for Richard Stenhouse


Greetings,

I am the Reverend Paul J. Thomas, current Pastor of Bethel A.M.E. Church, - Buffalo, NY. As Senior Pastor
and Chief Executive Officer at Bethel, I manage its contracts, social services, and ministry initiatives (spiritual
programs) which benefit the people of Buffalo and its surrounding Burroughs. Prior to my recent transition to
Buffalo, NY, I lived in Philadelphia, PA where I pastored AME Union Church and worked as a middle school
educator. As an instructor at Merakey Education Center and Penn Wood Middle School, I managed caseloads
for Individualized Education Plans, taught English, Math, and Social Studies, provided tutoring, and mentored
adolescent males. These experiences and responsibilities have enriched my broad and comprehensive
knowledge of the aforementioned fields.

Regarding Richard Stenhouse, I am aware he pled guilty to filing false income tax returns for the years 2014-
2018. As u adjudicate this matter, I hope to provide additional insight regarding his character. I have known
Richard Stenhouse to be a serious-minded individual who has shown great concern for the welfare of people,
young and old. He is sensitive to people in need and those with mental and physical health challenges. As his
successor at Bethel, I encounter these beneficiaries and can attest they have become essential to the spiritual and
social program Bethel provides.

I have known Richard Stenhouse since June 2008 when I began my vocation as a Pastor. I have had a direct
relationship with Richard Stenhouse since July 2012 when I began serving on the board of directors for First
District Self Help, Inc. Since 2012, Richard Stenhouse has modeled for me organizational leadership and drive.
He often engaged me to assume leadership responsibility on First District Self Help, Inc, and allowed me space
to grow these skills. Richard Stenhouse has always been direct, clear, and forthright with me during this period
of mentorship. Personally, and prior to any discussion regarding succeeding him as Bethel's Pastor, he has
opened the doors of his office to share knowledge and wisdom regarding the vocation we both share. He has
been hospitable, helpful, and he withheld no information from which he felt I, as a young and budding Pastor,
would benefit. As his retirement approached, The Presiding Bishop inquired of him a replacement for Bethel.
He named me and did not waver from this choice. Prior to my coming, he and I conversed, and in his usual
fashion, shared direct, clear, and helpful information about the church. After officially becoming the Pastor,
Richard Stenhouse answered every phone call, took every requested visit or meeting, and volunteered any
information he thought would help me. I am personally fortunate to have Richard Stenhouse as a mentor,
predecessor, and guide. I hope this information helps to inform your perspective of Richard Stenhouse.

Best regards,
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Pau J. Thomas, Pastor
Bethel AME Church, Buffalo, NY
